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PR0B12
(Rev. 10/93)

                               United States District Court
                                                for the

                                 Eastern District of Pennsylvania

                                        November 18, 2020

U.S.A. vs. Brian Harter                                               Case No.: 2:17CR00368-001

                            VIOLATION OF SUPERVISED RELEASE

        COMES NOW MATTHEW J. WILSON U.S. PROBATION OFFICER OF THE
COURT presenting an official report upon the conduct and attitude of Brian Harter who was
placed on supervised release by the Honorable Gene E.K. Pratter sitting in the Court at
Philadelphia, PA. on the 21 st day of November, 2017, who fixed the period of supervision at
three years, and imposed the general terms and conditions theretofore adopted by the Court and
also imposed special conditions and terms as follows:

 ORIGINAL OFFENSE:                Possession of a firearm by a convicted felon (Count One) and
                                  possession of an unregistered destructive device (Count Two)

 ORIGINAL SENTENCE:               Custody of the U.S. Bureau of Prisons for a period of 46
                                  months on Counts One and Two, such terms to be served
                                  concurrently, to be followed by three years of supervised
                                  release on each of Count One and Two to be served
                                  concurrently. A $200.00 special assessment was ordered.

 SPECIAL CONDITIONS:              1) While the defendant is on supervised release, he shall serve
                                  75 hours of community service per year. The community
                                  service shall be performed at a non-profit organization to be
                                  determined by the defendant in consultation with the probation
                                  officer; 2) The defendant shall participate in a mental health
                                  program for evaluation and/or treatment and shall abide by the
                                  rules of any such program until satisfactorily discharged; 3)
                                  The defendant shall refrain from illegal possession and/or use
                                  of drugs and shall submit to urinalysis or other forms of testing
                                  to ensure compliance. It is further ordered that the defendant
                                  shall participate in drug treatment and shall abide by the rules
                                  of any such program until satisfactorily discharged; 4) The
                                  defendant shall participate in a program at the direction of the
                                  probation officer aimed learning a vocation, or improving the
                                  defendants literacy, education level, or employment skills in
                                  order to develop or improve skills needed to obtain and
                                  maintain gainful employment. The defendant shall remain in
                                  any recommended program until completed or until such time
                                  as the defendant is released from the attendance by the
                                  probation officer.
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RE: HORTER, Brian
Case: 2: 17CR00368-01

 SUPERVISION
 COMMENCED:                        November 15, 2019

 SUPERVISION
 TERMINATES:                       November 14, 2022

The above probation officer has reason to believe that the supervised releasee has violated the
terms and conditions of their supervision under such circumstances as may warrant revocation.
This condition is:

 A.   Mandatory Condition: The defendant must not commit another federal, state, or local
      crime.

      On November 9, 2020, this officer received a voicemail from Detective Thomas
      Anderosky from the Philadelphia Police Department (PPD) who alerted this officer
      that Mr. Harter had been shot and subsequently interviewed by police on November
      7, 2020. He stated that Mr. Harter was uncooperative during the interview.

      This officer spoke to Mr. Harter by phone. He stated that on Saturday night
      (November 7, 2020) he was walking his dog in the Wissinoming Park in the
      northeast section of Philadelphia when the incident occurred. He added that a man
      approached him with a firearm and stated, "Give me what you got." Mr. Harter stated
      that the man was wearing a face mask and a hooded sweatshirt. He stated that the
      individual.pointed the gun at him and that he attempted to knock the gun away. Mr.
      Harter added that when this happened, he was shot in the wrist and the assailant fled.
      He stated that he laid on the ground for a short period of time, and then took himself
      to the hospital.

      According to the Affidavit of Probable Cause, on November 7, 2020, PPD officers
      inside Jefferson Frankford Hospital were alerted by hospital personnel that a male
      had just walked into the hospital with a gunshot wound to his left hand. Officers met
      with the individual, later determined to be Brian Harter, who told officers that he was
      hanging out with his friends inside the Wissinoming Park located at or near 5700
      Frankford Avenue. He stated that he was handling his friend's firearm when it
      negligently discharged, striking him in his left hand. Mr. Harter stated that his friends
      dropped him off at the hospital.

      The park was surveyed for a crime scene with negative results as no firearm was
      recovered. Mr. Harter became very uncooperative with the detectives at the hospital
      and refused to give a statement after being read his rights by detectives. An inquiry
      by police revealed that Mr. Harter did not possess a valid permit to carry a firearm
      and that he is prohibited from possessing a firearm due to a disqualifying conviction.




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RE: HORTER, Brian
Case: 2:17CR00368-01

      Consequently, a local warrant has been issued for Mr. Horter's arrest pursuant to the
      above incident. Mr. Horter has been charged with the following offenses: violation of
      the Uniform Firearms Act-former convict (a first degree felony); violation of the
      Uniform Firearms Act-no license (a third degree felony); violation of the Uniform
      Firearms Act-firearm on streets (a first degree misdemeanor); possessing an
      instrument of a crime (a first degree misdemeanor); and recklessly endangering
      another person (a second degree misdemeanor).

      The above warrant has not yet been executed and Mr. Horter remains in the
      community.

      GRADE OF VIOLATION


PRAYING THAT THE COURT WILL ORDER...                       THE ISSUANCE OF A
                                                           WARRANT FOR THE NAMED
                                                           SUPERVISED RELEASEE TO
                                                           BE ARRESTED AND BROUGHT
                                                           BEFORE THE COURT FOR A
                                                           REVOCATION HEARING.

                                                           I declare under penalty of perjury
                                                           that the foregoing is true and correct.

                                                           Respectfully,
                                                                                 Digitally signed by Jonathan J.
                                                           Jonathan J. Henshaw' Henshaw
                                                                                 oate: 2020.11.18 11 :31 :30 -05'00'

                                                           Jonathan J. Henshaw
                                                           Supervising U.S. Probation Officer

                                                          Place: Philadelphia, PA
MJW                                                       Date: November 18, 2020

cc:   Assistant U.S. Attorney
      Defense Attorney
      U.S. Marshals- Warrant Squad

      ORDER OF THE COURT

c~~this.                         / ~Y
of       ~~~-• 020, and ordered filed
and made part of the records in the above case.




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           INFORMATION SHEET FOR REVOCATION OF SUPERVISION


  United States of America       )          Case No.: 2:17CR00368-001
            vs.                  )

       Brian Harter              )


Defendant's last known Address and           5742 Frankford Avenue
Telephone Number:                            Apartment C4
                                             Philadelphia, PA 19135
                                             215-254-4775

Defendant is in custody at:                  NIA

Defendant's last known Counsel               Maranna J. Meehan, Esquire
Address and                                  Suite 540 West, The Curtis Center Building
Telephone Number:                            Independence Square West
                                             Philadelphia, PA 19106
                                             215-928-1100

Assistant U.S. Attorney                      Jennifer A. Williams, Esquire
Address and                                  615 Chestnut Street, Suite 1250
Telephone Number:                            Philadelphia, PA 19106
                                             215-861-8474



                                                              Digitally signed by Jonathan J.
                                            Jonathan J.       Henshaw
                                                              Date: 2020.11.1811:31:45
                                            Henshaw           -05'00'

                                     for:   Matthew Wilson
                                            Senior U.S. Probation Officer
                                            Telephone No. 267-299-4622
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                PROBATION AND SUPERVISED RELEASE VIOLATIONS

                                     Classification of Violations
 (a)    There are three grades of probation and supervised release violations:.,,
        (1)    Grade A Violations -- conduct constituting (A) a federal, state, or local offense
               punishable by a term of imprisonment exceeding one year that (i) is a crime of
               violence, (ii) is a controlled substance offense, or (iii) involves possession of a
               firearm or destructive device of a type described in 26 U.S.C. §5845(a); or (B)
               any other federal, state, or local offense punishable by a term of imprisonment
               exceeding twenty years;
        (2)    Grade B Violations -- conduct constituting any other federal, state, or local
               offense punishable by a term of imprisonment exceeding one year;
        (3)    Grade C Violations -- conduct constituting (A) a federal, state, or local offense
               punishable by a term of imprisonment of one year or less; or (B) a violation of
               any other condition of supervision.
(b)     Where there is more than one violation of the conditions of supervision, or the violation
        includes conduct that constitutes more than one offense, the grade of the violation is
        determined by the violation having the most serious grade.

                                    REVOCATION TABLE
                                  (in months of imprisonment)

                                   Criminal History Category*

 Grade of
 Violation           I             II            III           IV            V              VI
 Grade C            3-9          4-10           5-11          6-1           7-13            8-14
 GradeB            4-10          6-12           8-14         12-18          18-24         21-27


 Grade A       (1) Except as provided in subdivision (2) below:
                   12-18         15-21         18-24         24-30         30-37          33-41
               (2) Where the defendant was on probation or supervised release as a result of a
                   sentence for a Class A felony:
                  24-30         27-33          3-37          37-46         46-57          51-63

               * The criminal history category is the category applicable at the time the
                 defendant originally was sentenced to a term of supervision.

Note: Mandatory revocation of probation is required when the new offense is possession of a
firearm or the illegal possession of controlled substances. Reference Sections 6214 and 7303
respectively of the Anti-Drug Abuse Act of 1988 (Pub S No. 100-690, November 18, 1988).

Note: The Commission leaves to the Court the determination of whether evidence of drug usage
established solely by laboratory analysis constitutes a possession of a controlled substance "as set
forth in 18, USC 3565(a) and 3583(g)."


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